
ORDER
PER CURIAM.
AND NOW, this 23rd day of March, 2006, the Report and Recommendations of the Disciplinary Board dated January 30, 2006, are approved and it is ORDERED that Eugene Sylvanus Byers, who has been on inactive status,' has never been suspended or disbarred, and has demonstrated that he has the moral qualifications, competency and learning in law required for admission to practice in the Commonwealth, shall be and is hereby reinstated to active status as a member of the Bar of this Commonwealth. The expenses incurred by the Board in the investigation and processing of the Petition for *1164Reinstatement shall be paid by the Petitioner.
Justice BALDWIN did not participate in this matter.
